Date Signed:
August 20, 2014




                   UNITED STATES BANKRUPCTY COURT
                      FOR THE DISTRICT OF HAWAII



In re                                     )   Case No. 11-01392
                                          )   (Chapter 7)
LIANE N. WILSON,                          )   Related Docket No. 83
                                          )   Date: August 20, 2014
                          Debtor.         )   Time: 9:30 a.m.
                                          )   Judge: Hon. Robert J. Faris

                     ORDER DISMISSING CASE
          WITH THIRTY (30) MONTH PROHIBITION TO REFILING

        The hearing on the United States Trustee’s Motion to Approve Stipulation to

Dismiss Case was held on August 20, 2014 at 9:30 a.m. before the Honorable

Robert J. Faris, United States Bankruptcy Judge. Terri H. Didion appeared on

behalf of the United States Trustee. There were no other appearances noted on the

record and no opposition was filed.


////

                                     Page 1 Dkt # 96 Filed 08/20/14 Page 1 of 2
 U.S. Bankruptcy Court - Hawaii #11-01392
      For reasons stated in open court pursuant to Rule 7052 of the Federal Rules


of Bankruptcy Procedure, and good cause appearing,


It is hereby Ordered as follows:


1. Debtor Liane N. Wilson’s chapter 7 bankruptcy case is dismissed with a thirty

(30) month prohibition to refiling another bankruptcy case under Title 11.


2. The prohibition to refiling will start as of the date of the entry of this Order.


                                     End of Order




Submitted by:

OFFICE OF THE UNITED STATES TRUSTEE
TIFFANY L. CARROLL
Acting United States Trustee
CURTIS CHING 3931
Assistant United States Trustee
TERRI H. DIDION (CSB 133491)
Trial Attorney for U.S. Trustee
1132 Bishop Street, Suite 602
Honolulu, Hawaii 96813
Telephone: (808) 522-8154
ustpregion15.hi.ecf@usdoj.gov




                                     Page 2 Dkt # 96 Filed 08/20/14 Page 2 of 2
 U.S. Bankruptcy Court - Hawaii #11-01392
